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  16   Attorneys for Plaintiff Nichia Corporation
  17
                                   UNITED STATES DISTRICT COURT
  18
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
  19
  20
        NICHIA CORPORATION,                         Case No. 2:20-cv-00359-GW-E
  21
                          Plaintiff,                Assigned to Hon. George Wu, and to
  22    v.                                          Hon. Charles F. Eick for discovery
                                                    matters
  23    FEIT ELECTRIC COMPANY, INC.
                                                    EX PARTE APPLICATION TO
  24                      Defendant.                SHORTEN TIME TO HEAR
                                                    MOTION FOR SANCTIONS FOR
  25                                                FEIT’S FAILURE TO COMPLY
  26                                                WITH THE COURT’S MAY 17,
                                                    2021 ORDER WITH RESPECT
  27                                                TO INTERROGATORY NO. 6.
  28                                                Fact Disc. Cut-off: Nov. 9, 2021


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   1                                             Expert Disc. Cut-off: Feb. 17, 2022
                                                 Pretrial Conference: April 21, 2022
   2                                             Bench Trial: May 3, 2022
   3                                             Jury Trial: TBD

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   1              TO DEFENDANT AND ITS ATTORNEYS OF RECORD HEREIN:
   2              PLEASE TAKE NOTICE that Plaintiff Nichia Corporation (“Nichia”)
   3   hereby respectfully applies to this Court ex parte, pursuant to Local Rule 7-19, for
   4   an order that Nichia’s motion for sanctions for Feit Electric Company, Inc.
   5   (“Feit’s”) failure to comply with the Court’s May 17, 2021 Order with respect to
   6   Interrogatory No. 6 (Dkt. 228) (“Motion”) be heard on shortened notice.
   7              As explained in the memorandum below, an expedited hearing is necessary
   8   in this matter in view of Feit’s serial violations of three Court orders directed to
   9   Nichia Interrogatory No. 6 and the fact that opening expert reports are due on
  10   December 7, 2021. Because the underlying motion concerns a critical issue that
  11   must be addressed in Nichia’s opening expert report on infringement (i.e.,
  12   representativeness), it is important that it be heard and resolved sufficiently prior to
  13   the December 7, 2021 deadline for Nichia’s technical expert to have time to
  14   incorporate the ruling(s) into his expert report.
  15              Contact information for Feit’s counsel is as follows:
  16
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   1   Facsimile: 312-767-9192
   2
                  This application is made following email and telephone exchanges between
   3
       counsel for Nichia and counsel for Feit concerning the parties’ joint stipulation
   4
       regarding Nichia’s Motion. On November 4, 2021, counsel for Nichia informed
   5
       opposing counsel that it intended to file its Motion and this ex parte application
   6
       with its Motion. See Declaration of D. Lawson Allen (“Allen Decl.”), Ex. 1 (11-4-
   7
       21 Allen email to Feit counsel). Counsel for Nichia asked if Feit would agree to a
   8
       hearing on November 19, 2021 (or early in the week) or on November 22, 2021, or
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       such other date as the Court may determine. On November 8, 2021, counsel for
  10
       Feit responded stating Feit opposed expedited hearing. Id. (11-8-21 Papacostas
  11
       email to Allen). On November 12, 2021 counsel for Nichia spoke with counsel for
  12
       Feit by telephone to confirm this opposition and to provide notice of the date of
  13
       filing of this ex parte application. Id., ¶ 3.
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                  On the basis of the foregoing and the memorandum below, Nichia requests
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       that the Court set a hearing on Nichia’s concurrently filed Notice of Motion and
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       Motion on or before November 22, 2021, or such other date as the Court may
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       determine, and that the Court set a date for the submission of any supplemental
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       memorandum pursuant to L.R. 37-2.3 on or before November 19, 2021, or such
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       other date as the Court may determine, and that the Court set a date for the
  20
       submission of any supplemental memorandum pursuant to L.R. 37-2.3 on or before
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       November 19, 2021, or such other date as the Court may determine.
  22
                  This application is based on this application, the attached memorandum of
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       points and authorities, the supporting Declaration of D. Lawson Allen, any
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       memoranda filed by the parties in connection with this application, the pleadings on
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       file herein, and upon such other matters as may be presented to the Court at the time
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       of the hearing.
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   1                                Respectfully submitted,
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   3   DATED: November 12, 2021 By:       /s/ Elizabeth M. Weldon
   4
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  26                                Attorneys for Plaintiff Nichia Corporation
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   1               MEMORANDUM IN SUPPORT OF EX PARTE APPLICATION
   2              The Accused Products in this case are filament-style LED bulbs. A major
   3   component of the bulbs is a light-emitting filament (“LED Filament”). Nichia’s
   4   Interrogatory No. 6 requests that Feit identify, for each of the Accused Products, the
   5   manufacturer(s) and manufacturer’s part number(s) for the LED Filament used in that
   6   model. The Court has now ordered Feit to respond this interrogatory three times.
   7   See Dkts. 115, 185, and 216. The first order was on May 17, 2021, and the latest
   8   order was eight weeks ago. Yet, Feit has still not complied with this Court’s multiple
   9   orders.
  10              The response to Interrogatory No. 6 is of central importance to Nichia’s
  11   efficient proof of infringement in this case. In cases like this, where there are a large
  12   number of Accused Products, plaintiffs typically rely on a subset of those products –
  13   “representative” products – to prove infringement of the larger set. Feit’s obstructive
  14   discovery behavior has prevented Nichia from obtaining valuable discovery that
  15   would have aided Nichia in its efficient proof of infringement, and which could have
  16   been used by Nichia’s expert in his opening infringement report. Because Feit did
  17   not provide the manufacturers and model numbers of the LED filaments used in its
  18   products, Nichia could not obtain useful discovery from those filament
  19   manufacturers, and Nichia’s technical expert has not been able to use that information
  20   in preparation of his opening report on infringement. However, Feit’s statements and
  21   actions with respect to Interrogatory No. 6 indicate that Feit has every intention of
  22   using the information (or the lack of information) it was ordered to provide to contest
  23   Nichia’s showings of “representativeness.”
  24              An ex parte application is the appropriate mechanism to request shortening the
  25   time for hearing on a motion. Horne v. Wells Fargo Bank N.A., 969 F. Supp. 2d 1203,
  26   1205 (C.D. Cal. 2013) (“The use of [an ex parte application] is justified when … the
  27   party seeks a routine procedural order that cannot be obtained through a regularly
  28   noticed motion” such as to shorten a time period) (citing In Re Intermagnetics Am.,


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   1   101 B.R. 191, 194 (C.D. Cal. 1989)). Here, good cause exists for shortening the time
   2   for hearing Nichia’s Motion. The hearing for the Motion is noticed for December 3,
   3   2021. Opening expert reports are due December 7, 2021. As explained above
   4   Nichia’s expert has not been able to use the information that the Court has three times
   5   ordered Feit to provide in the preparation of his opening report. In view of Feit’s
   6   serial violations of three Court orders directed to Interrogatory No. 6 and opening
   7   expert reports being due December 7, 2021, Nichia requests that the Court expedite
   8   the hearing on Nichia’s Motion so that the issue may be heard and resolved
   9   sufficiently before the disclosure of opening expert reports.
  10              For the foregoing reasons, Nichia requests that the Court set a hearing on
  11   Nichia’s concurrently filed Notice of Motion and Motion on or before November
  12   22, 2021, or such other date as the Court may determine, and that the Court set a
  13   date for the submission of any supplemental memorandum pursuant to L.R. 37-2.3
  14   on or before November 19, 2021, or such other date as the Court may determine.
  15
  16                                        Respectfully submitted,
  17
  18   DATED: November 12, 2021 By:                /s/ Elizabeth M. Weldon
  19
                                            SNELL & WILMER L.L.P
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  21                                        WILLIAM S. O’HARE (SBN 82562)
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                                            ROTHWELL, FIGG, ERNST & MANBECK P.C.
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  28                                        ROBERT P. PARKER (pro hac vice)


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